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10
                           UNITED STATES DISTRICT COURT
11
                         CENTRAL DISTRICT OF CALIFORNIA
12
13
      VERNON UNSWORTH,                          Case No. 2:18-cv-08048
14
15                Plaintiff,                    Judge: Hon. Stephen V. Wilson

16          vs.                                 JOINT RULE 26(F) REPORT AND
17                                              PROPOSED DISCOVERY PLAN
      ELON MUSK,
18                                              Complaint Filed: September 17, 2018
                  Defendant.                    Trial Date: December 2, 2019
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                           JOINT RULE 26(F) REPORT AND DISCOVERY PLAN
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                        JOINT RULE 26(F) REPORT AND DISCOVERY PLAN
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  1         The parties, Plaintiff Vernon Unsworth (“Mr. Unsworth” or “Plaintiff”) and
  2 Defendant Elon Musk (“Mr. Musk” or “Defendant”), by and through their respective
  3 counsel, respectfully submit their Joint Rule 26(f) Report and Discovery Plan as
  4 contemplated by Federal Rules of Civil Rule Procedure Rule 26(f) and Local Rule
  5 26-1.
  6
  7 I.      ITEMS REQUIRED BY FRCP 26(F)
  8         A.    Meeting of Counsel
  9         On May 21, 2019, the parties’ counsel conferred pursuant to Federal Rule of
10 Civil Procedure 26(f)(2) and have worked cooperatively since then on this Joint Rule
11 26(f) Report and Discovery Plan.
12          B.    Rule 26(a) Initial Disclosures
13          The parties do not believe there should be any changes made in the timing,
14 form, or requirement for Initial Disclosures under Rule 26(a). The parties will
15 exchange disclosures on June 20, 2019.
16          C.    Discovery Issues
17          No discovery has been taken to date. The parties have agreed that fact
18 discovery shall not be conducted in phases. The parties will adhere to the scope of
19 discovery set out in Rule 26(b). The parties do not presently anticipate any unusual
20 issues in discovery requiring orders from the Court at this time. The parties’ joint
21 scheduling proposal, including for the completion of discovery, is attached hereto as
22 Exhibit A.
23          D.    Electronically-Stored Information
24          The parties are not aware of any issues regarding disclosure, discovery, or
25 preservation of electronically stored information requiring orders from the Court at
26 this time. The Parties have agreed to negotiate a protocol regarding the form of
27 production of hard copy documents and electronically stored information (“ESI”).
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  1 The Parties have agreed to negotiate in good faith should they disagree initially as to
  2 the appropriate protocol for the production of hard copy documents and/or ESI.
  3        E.     Privileged Material
  4        The parties agree to follow the procedures set forth in Federal Rule of Civil
  5 Procedure 26(b)(5)(B) with respect to disclosures of privileged materials.
  6        F.     Limitations on Discovery
  7        The parties do not anticipate changes to the limitations on discovery imposed
  8 by the Federal and Local Rules.
  9        G.     Other Discovery Orders
10         The parties contemplate submitting a proposed protective order pursuant to
11 Rule 26(c) and request that the Court enter the parties’ scheduling proposal pursuant
12 to Rule 16(b).
13
14 II.     ITEMS REQUIRED BY LOCAL RULE 26
15         A.     Complex Designation
16         The parties do not believe the procedures of the Manual For Complex
17 Litigation should be utilized in this case.
18         B.     Motion Schedule
19         The parties’ joint scheduling proposal, including for the filing of dispositive or
20 partially dispositive motions, is attached hereto as Exhibit A.
21         C.     ADR
22         The parties agree to “ADR PROCEDURE NO. 2 - the Court’s Mediation
23 Panel.” The parties believe such session should occur once discovery has been
24 completed.
25         D.     Trial Estimate
26         The parties preliminarily estimate the trial will take a total of no more than 5
27 Court days.
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                           JOINT RULE 26(F) REPORT AND DISCOVERY PLAN
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  1        E.     Additional Parties.
  2        The parties do not anticipate any additional parties joining this suit, either by
  3 motion of the parties or by third parties seeking to join of their own accord.
  4        F.     Expert Witnesses
  5        The parties’ joint scheduling proposal, including relating to the disclosure of
  6 expert witnesses, is attached hereto as Exhibit A.
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  1 Dated: June 17, 2019
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                        JOINT RULE 26(F) REPORT AND DISCOVERY PLAN
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  1                 EXHIBIT A – PARTIES’ JOINT PROPOSED SCHEDULE1
  2       Deadline/Event                                         Date
  3       Fact Discovery and Expert Disclosure
  4       Fact Discovery Cutoff                                  September 13, 2019
  5       Expert Witness Disclosure                              September 13, 2019
  6       Rebuttal Expert Disclosure                             October 14, 2019
  7
  8       Summary Judgment/Adjudication
  9       Dispositive Motions                                    September 16, 2019
10        Oppositions                                            October 4, 2019
11        Replies                                                October 14, 2019
12        Hearing                                                October 28, 2019
13
14        Trial Preparation and Trial
15        Motions in Limine                                      November 4, 2019
16
          Motion in Limine Oppositions                           November 11, 2019
17
          Motion in Limine Replies                               November 18, 2019
18
          Pre-Trial Filings (Joint Final Pre-Trial Conference
19        Proposed Order, Exhibit List, Witness List,            November 18, 2019
          Memorandum of Contentions of Fact and Law. Jury
20        Instructions)
          Final Pre-Trial Conference                             November 25, 2019
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          Trial                                                  December 2, 2019
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28      Any other deadlines pursuant to the Federal Rules of Civil Procedure, Local
      Rules, and the Court’s orders.
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                                JOINT RULE 26(F) REPORT AND DISCOVERY PLAN
